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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
)
Plaintiff, )
) CASE NO. JO-CR-3002Ag
vs. )
)
JOHN C. TURLEY, )
)
Defendant. )
STIPULATION OF FACTS

 

The United States, through Steven D. Weinhoeft, United States Attorney for the Southern
District of Illinois, by Assistant United States Attorney, William E. Coonan, and Defendant
John C, Turley, represented by J. William Lucco, have stipulated to the following facts to support
the plea of guilty in accordance with U.S.S.G. § 6B1.4.

Count 1 - Unlawful Purchase of Certain Plants in Violation of the Lacey Act

1. Wild American Ginseng is a valuable commodity. It is often sold overseas and
brings very high prices for relatively small quantities. Because of its value, however, there is a
need to protect it from extinction via overharvesting.

2 The states, where wild American Ginseng is native, have enacted laws to regulate
its harvesting and sale. Illinois is one such state. Specifically, Illinois has enacted laws that
regulate the seasons during which Ginseng can be harvested and sold and the size of the plants that
can be harvested and sold. See, e.g., Illinois Ginseng Conservation Act (Public Act 83-680),
525 ILCS 20/2d (eff. Sept. 23, 1983). In addition, Illinois requires both harvesters and dealers of
Ginseng to be licensed. Further, Illinois dealers are required to submit certain records to the

Illinois Department of Natural Resources (IDNR), which document all of their Ginseng purchases,
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including the dates of the purchases, the names and license numbers the harvesters they purchased
from, the amount of the plants purchased.

a Defendant admits that on September 19, 2015, he did knowingly engage in conduct
that constituted the receipt, acquisition and purchase, in interstate commerce, of plants taken,
possessed and sold in violation of Illinois state law, and in the exercise of due care should have
known, that the plants were taken, possessed and sold in violation of Illinois state law. In
particular, defendant purchased with the intent to sell, in interstate commerce,
Panax quinquefolious, commonly referred to as wild American ginseng, in violation of the laws
and regulations of the State of Illinois.

4. Specifically, on September 19, 2015, defendant purchased 1.26 pounds of ginseng
for $500.00, which, when he purchased it, was told that the ginseng had been harvested outside of
the harvesting dates permitted by Illinois law.

3. Defendant further admits that all of the ginseng roots seized by law enforcement on
September 19, 2015, are subject to forfeiture because he commingled ginseng he purchased
illegally with ginseng he may have purchased legally.

6. Defendant’s actions as charged in the Indictment occurred in Bond County within

the Southern District of Illinois,
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IT IS SO STIPULATED.

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JOHN C. TURLEY 7
Defendant

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J. WILLIAM LUCCO

Attorney for Defendant

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Dated: ernie Bigag , 2049

 

STEVEN D. WEINHOEFT
United States Attorney

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WILLIAM E. COONAN
Assistant United States Attorney

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Dated: de 2049
